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UNITED STATES DISTRICT COURT                    SOUTHERN DISTRICT OF TEXAS
                                                                            United States District Court
                                                                              Southern District of Texas

                                                                                 ENTERED
Nalex Energy, LLC,                         §                                     June 06, 2022
                                           §                                  Nathan Ochsner, Clerk
versus                                     §               Civil Action 4:22−cv−01824
                                           §
Lauritzen Bulkers A/S, et al.              §

                                Order for Conference
1.       The plaintiff must accomplish service within 60 days.

2.       Counsel must appear for an initial pretrial conference on:

                           September 6, 2022, at 10:30 AM
                             before Judge Lynn N. Hughes
                          at 515 Rusk Avenue, Room 11122
                                    Houston, Texas.

3.       Initial disclosures may not be delayed. Disclosures must be exchanged,
         reviewed, and discussed with opposing counsel well before the conference.

4.       No interrogatories, requests for admission, or depositions may be done
         without court approval.

5.       A joint discovery plan is not required. Counsel must (a) master the facts, (b)
         ascertain the discovery needed, (c) discuss it with each other, and (d) be
         prepared to discuss discovery in a conference so that the court may fashion a
         brief, effective management plan.

6.       In addition to scheduling additional preparation, the court may rule on
         motions pending or made at the conference.

7.       To ensure full notice, each party who receives this notice must confirm that
         every party knows of the setting.

8.       Failure to comply with this order may result in sanctions, including dismissal,
         and prolonged tirades by the court.

                                                          Lynn N. Hughes
                                                          United States District Judge
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                                 Judge Lynn N. Hughes


Courtroom 11-C, Eleventh Floor                   Glenda Hassan, Case Manager
United States Court House                        United States District Clerk
515 Rusk Avenue, Room 11122                      Post Office Box 61010
Houston, Texas 77002-2605                        Houston, Texas 77208-1010
(713) 250-5900                                   (713) 250-5516
                                                 Glenda_Hassan@txs.uscourts.gov



Procedures. Suggestions for practice before Judge Hughes may be found at
www.txs.uscourts.gov. Please read them.

Contact. Make case-related telephone inquiries to the case manager only. Counsel may
alert the case manager to matters requiring prompt attention.

Information. Get information about filings, orders, or docket entries from the computer
or from the clerk's office at (713) 250-5500 or (800) 745-4459.

Letters. Do not write letters. Put your message in a document with the case style.

Emergencies. Apply for immediate relief through the Intake Section of the Clerk's
Office, 515 Rusk Avenue, Houston; (713) 250-5500.

Counsel should send a copy of emergency motions directly to the case manager so that
they may quickly reach the court's attention. In an emergency when the case manager
cannot be reached, please call the judge's secretary, Crystina Huerta, at (713) 250-5900.

Continuances. Joint motions for continuance do not bind the court. The court will
respect counsel's vacations.

Discovery Problems. The court will hear oral motions that affect discovery or
scheduling soon as both counsel can appear in person or by telephone, especially if
problems arise at depositions; call right then.
